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                                                                      2023 Sep-06 PM 07:29
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA
                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BOBBY SINGLETON, et al.,            )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1291-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


EVAN MILLIGAN, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1530-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


MARCUS CASTER, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )   Case No.: 2:21-cv-1536-AMM
                                    )
WES ALLEN, in his official          )
capacity as Secretary of State of   )
Alabama, et al.,                    )
                                    )
     Defendants.                    )
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BEFORE THE SPECIAL MASTER:

                                       ORDER

The Court directed the Special Master to submit three proposed plans and a Report
and Recommendation by September 25, 2023. To meet that deadline while
permitting parties and interested non-parties to participate in the process, the Special
Master is setting the following submission schedule.

1. Any party desiring to do so must submit proposed remedial plans by 12:00 PM
Central Standard Time on Monday, September 11, 2023. Recognizing that non-
parties may require additional time to prepare, non-parties desiring to do so may
submit proposed remedial plans by 12:00 PM Central Standard Time on
Wednesday, September 13, 2023, but are strongly encouraged to submit their plans
ahead of that deadline to permit the plans’ thorough consideration. Each proposed
remedial plan may be accompanied by an explanation of the plan and its compliance
with the Court’s order of September 5, 2023. The Special Master is aware that parties
submitted certain illustrative plans during the liability phase of these proceedings
and submitted proposed remedial plans during the remedial phase, but parties should
nonetheless submit proposed remedial plans (labeled as such) in the manner
described in this order if they wish to have those plans considered by the Special
Master.

2. Any party or other interested person wishing to do so may submit comments to
any other party’s or non-party’s proposed remedial plan by midnight Central
Standard Time on Wednesday, September 13, 2023.

3. Proposed remedial plans must be compatible with the use of Maptitude, which is
the software being used by the Special Master’s team. The electronic file for each
proposed remedial plan should be in Department of Justice (DOJ) format (Block,
district # or district #, Block). This should be a two-column, comma-delimited file
containing the FIPS code for each block and the district number. Maptitude has an
automated plan import that creates a new plan from the block/district assignment
list. An example of DOJ format is SSCCCTTTTTTBBBBDDDD, where “SS” is the
2-digit state FIPS code; “CCC” is the 3-digit county FIPS code; “TTTTTT” is the 6-
digit census tract code; “BBBB” is the 4-digit census block code; and “DDDD” is
the district number, right-adjusted.

4. Explanations supporting proposed remedial plans and comments to others’
proposed remedial plans should be in PDF format.
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5. This order will be supplemented soon with instructions for how and where to
submit proposed remedial plans, explanations, and comments and how the proposed
plans will be shared for comment by others.

6. Be advised that all proposed remedial plans, explanations, and comments will be
publicly available, and that the Special Master is not limited in his ultimate
recommendations to the proposed plans received during this process.

      DONE and ORDERED this 6th day of September, 2023.


                                     /s/ Richard F. Allen
                                     RICHARD F. ALLEN
                                     SPECIAL MASTER




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